Case 2:04-cr-20434-SH|\/| Document 51 Filed 05/17/05 Page 1 of 2 Page|D 54

IN THE UNITED sTATEs DISTRICT coURT
FOR THE wESTERN DISTRICT oF TENNESSEE ',m“

 

 

 

 

WESTERN DIVISION USHAYil PH!:h§

UNITED STATES OF AMERICAr ) CL§Y£*Q§§§§F%K

) Ww:efn¢uawms
Plaintiff, )
)

vS_ y cR. No. 04420434¢Ma

)
ARTURO MUNoZ, )
ALEX MUNOZ, )
)
Defendants. )

 

ORDER ON CONTIN'UANCE AND SPECIF'Y'ING PERIOD OF EXCLUDABLE DEL.AY

 

This cause came on for a report date on April 21, 2005.
Defense counsel requested aa continuance ill order' to allow for
additional preparation in the case and to allow for the completion
of the examination as to the mental competency of defendant Arturo
Munoz.

The Court granted the request and continued the trial date to
the rotation docket beginning June 6, 2005 at 9:30 a.m-, with a
report date of Tuesday, May 31, 2005 at 2:00 p.m.

The period from April 21, 2005 through June l7, 2005 is
excludable under 18 U.S.C. §§ 3l6l(h)(8)(B)(iv) and 3161(h)(l)(A)
because the interests of justice in allowing for additional time to
prepare and the mental evaluation of the defendant outweigh the
need for a speedy trial.

IT IS SO ORDERED this /7*£\ day of May, 2005.

'%'his document entered ora me docket aheat in compliance y d M____`

with Ru|e 55 and/or 32(b) FRCrF’ eng ’( _€- of x
SAMUEL H. MAYS, JR_ §

 

 

UNITED STATES DISTRICT JUDGE

 

thice of Distribution

This notice confirms a copy of the document docketed as number 51 in
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Honorable Samuel Mays
US DISTRICT COURT

